Case 22-06993    Doc 33    Filed 07/07/23 Entered 07/07/23 22:42:00          Desc Main
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              IN THE UNITED STATES BANKRUPTCY COURT FOR
                      [DISTRICT] DISTRICT OF [STATE]
               NORTHERN                       ILLINOIS
                  CHICAGO [DIVISION] DIVISION

In re
                                                          In Chapter [Ch]
                                                                     13 Proceeding
[Debtor
RONISHA 1 Name]
           J CARPENTER                                    Case No. [Case  Number]
                                                                   22-06993
[Debtor 2 Name]

                                         Debtors.


                           NOTICE OF WITHDRAWAL

          PLEASE TAKE NOTICE that [Client     Client
                                        Synchrony    Client] c/o PRA Receivables
                                                  Bank
   Management, LLC hereby withdraws its Request for Special Notice filed on
   [RFN  File Date] Docket Number [10].
   6/23/2022                      9



                           th
         Dated: This [Day]
                     7        day of [Month],
                                     July     [Year]
                                              2023




                                                    By:   /s/Valerie Smith
                                                          Valerie Smith
                                                          PRA Receivables Management, LLC
                                                          PO Box 41021
                                                          Norfolk, VA 23541
                                                          TEL: (877) 885-5919
                                                          FAX: (757) 351-3257
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                                     Certificate of Service
            I hereby certify that a copy of the foregoing was served electronically to the following
 parties:


 [Attorney
  CHRISTINEName]
              THURSTON
 Attorney

 [Trustee
 THOMAS   Name]
            HOOPER
 Chapter [Ch]
         13 Trustee


                               th
             Dated: This [Day]
                         7        day of [Month],
                                         July     [Year]
                                                  2023



                                                            By:     /s/Valerie Smith
                                                                   Valerie Smith
                                                                   PRA Receivables Management, LLC
                                                                   PO Box 41021
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